        Case 1:22-cv-02219-EK-CLP Document 1-2 Filed 04/19/22 Page 1 of 4 PageID #: 12

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Eastern District
                                                     __________         of of
                                                                 District  New  York
                                                                              __________

            Allstate Insurance Company, et al.                         )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 1:22-cv-02219
                                                                       )
                 Aleksandr Gulkarov, et al.                            )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See rider attached




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Michael W. Whitcher, Esq.
                                           King, Tilden, McEttrick & Brink, P.C.
                                           1325 Franklin Ave., Suite 320
                                           Garden City, NY 11530



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
         Case 1:22-cv-02219-EK-CLP Document 1-2 Filed 04/19/22 Page 2 of 4 PageID #: 13

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 Civil Action No. 1:22-cv-02219

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK



 ALLSTATE INSURANCE COMPANY,                           C.A. No.
 ALLSTATE INDEMNITY COMPANY,
 ALLSTATE FIRE & CASUALTY INSURANCE COMPANY,
 AND
 ALLSTATE PROPERTY & CASUALTY INSURANCE
 COMPANY,

       Plaintiffs,

 vs.

 ALEKSANDR GULKAROV,
 ROMAN ISRAILOV,
 AZU AJUDUA,
   f/k/a “AZU AJUDUA, M.D.,”
 ROLANDO JOSE MENDEZ CHUMACEIRO, M.D.,
 VYACHESLAV MUSHYAKOV, AND
 ARKADIY KHAIMOV,

       Defendants.


                             RIDER TO SUMMONS


   1. Azu Ajudua
      954 Seaview Dr
      Oyster Bay, NY 11771

   2. Rolando Jose Mendez Chumaceiro, MD
      1506 Pondcrest Lane
      White Plains, NY 10607

   3. Aleksandr Gulkarov
      6560 Booth St Apt 4D
      Rego Park, NY 11374

   4. Roman Israilov
      987 E. End
      Woodmere, New York 11598

                                           1
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   5. Vyacheslav Mushyakov
      8504 63rd Apt 5J
      Rego Park, NY 11347

   6. Arkadiy Khaimov
      71-30 Yellowstone Blvd., #D
      Forest Hills, New York 11375




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